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                                            15

                                            16 Attorneys for Defendant WESTERN GOVERNORS
                                                                           UNIVERSITY
                                            17

                                            18                        UNITED STATES DISTRICT COURT
                                            19                     SOUTHERN DISTRICT OF CALIFORNIA
                                            20 LINDSEY MACK, an individual                 Case No.: ‘23CV1842 RBM MSB
                                            21               Plaintiff,                    Hon. Michael S. Berg
                                            22         v.                                  [San Diego Superior Court Case No. 37-
                                                                                           2023-00037783-CU-OE-CTL]
                                            23 WESTERN GOVERNORS’
                                                 UNIVERSITY, et al.,                       JOINT STIPULATION
                                            24                                             REQUESTING VOLUNTARY
                                                             Defendants.                   DISMISSAL WITH PREJUDICE
                                            25                                             PURSUANT TO FED. R. CIV. P.
                                                                                           41(a)(1)(A)(ii)
                                            26
                                            27

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                                                                                           -1-
                                                 JOINT STIPULATION REQUESTING VOLUNTARY DISMISSAL WITH PREJUDICE PURSUANT TO FED. R.
                                                                                  CIV. P. 41(a)(1)(A)(ii)
                                       Case 3:23-cv-01842-RBM-MSB Document 17 Filed 06/04/24 PageID.139 Page 2 of 4




                                                                                             Under Separate Cover:
                                             1
                                                                                             [PROPOSED] ORDER
                                             2

                                             3                                               Complaint filed: August 21, 2023
                                                                                             Removal Date: October 6, 2023
                                             4                                               Final Pre-Trial Conference: January 30,
                                                                                             2025
                                             5

                                             6

                                             7                                     STIPULATION
                                             8        Plaintiff LINDSEY MACK (“Plaintiff”) and Defendant WESTERN
                                             9 GOVERNORS’ UNIVERSITY (“Defendant”), by and through their respective
TELEPHONE 909 677 2270 ♦ FAX 909 677 2290




                                            10 counsel of record, HEREBY STIPULATE AND AGREE, that pursuant to Fed. R.
     800 FERRARI LANE, SUITE 100
     ONTARIO, CALIFORNIA 91764




                                            11 Civ. P. 41(a)(1)(A)(ii), this action shall be dismissed in its entirety with prejudice as

                                            12 to Plaintiff’s claims against Defendants.
            VALIANT LAW




                                            13
                                                 DATED: June 3, 2024                        VALIANT LAW
                                            14

                                            15
                                                                                     By:
                                            16                                                 KAMRAN SHAHABI
                                            17                                                 PAUL NOLAN
                                                                                               Attorneys for Plaintiff, LINDSEY
                                            18                                                 MACK
                                            19

                                            20

                                            21 DATED: June 3, 2024                          JACKSON LEWIS P.C.
                                            22

                                            23                                       By:
                                                                                               ALISON LYNCH
                                            24
                                                                                               SARAH RAOOF
                                            25                                                 Attorneys for Defendant, WESTERN
                                                                                               GOVERNORS UNIVERSITY
                                            26

                                            27

                                            28                                             -2-
                                                 JOINT STIPULATION REQUESTING VOLUNTARY DISMISSAL WITH PREJUDICE PURSUANT TO FED. R.
                                                                                  CIV. P. 41(a)(1)(A)(ii)
Case 3:23-cv-01842-RBM-MSB Document 17 Filed 06/04/24 PageID.140 Page 3 of 4




  1                                  PROOF OF SERVICE
  2       I am employed in the County of San Bernardino, State of California. I am
  3
    over the age of 18 and not a party to the within action; my business address is 800
    Ferrari Lane, Suite 100, Ontario, CA 91764.
  4
          On June 4, 2024, I served the foregoing document(s) described as JOINT
  5
    STIPULATION REQUESTING VOLUNTARY DISMISSAL WITH
  6 PREJUDICE PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(ii) on all the interested
    parties in this action at the address listed below, as follows:
  7

  8    Sarah Raoof, Esq.                               Sarah.Raoof@jacksonlewis.com
       JACKSON LEWIS P.C.                              Alison.Lynch@jacksonlewis.com
  9                                                    Gazale.Banyan@jacksonlewis.com
       200 Spectrum Center Drive, Suite 500
 10    Irvine, CA 92618
       Tel: (949) 885-1367
 11    Attorney for Defendant WESTERN
 12    GOVERNORS’ UNIVERSITY

 13 (__)     MAIL (FRCP 5(b)(1)(C)): By placing a true copy (copies) thereof enclosed
 14
      in a sealed envelope(s), addressed as above, and by placing said sealed envelope(s)
      for collection and mailing on the date following ordinary business practices. I am
 15   “readily familiar” with the business’ practices for collection and processing of
      correspondence for mailing the U.S. Postal Service. Under that practice, it would be
 16
      deposited with the U.S. Postal Service on that same day with postage thereon fully
 17   prepaid at San Bernardino County, California, in the ordinary course of business.
 18 (__) ELECTRONIC MAIL: I served the above document(s) by electronic mail in

 19 the United States during normal business hours by causing the within document to
      be transmitted to the attorney of records for the parties herein at the email address(es)
 20 as indicated above. The electronic service was in compliance with CRC Rule 2.251

 21 and the transmission was reported as completed and without error. I am readily
      familiar with Valiant Law business practice of electronic service.
 22

 23 (__) EXPRESS MAIL: I caused said document(s) to be placed in an Express Mail
      Overnight Envelope and deposited in an express Mail DropBox to be delivered the
 24 following business day pursuant to FRCP 5(b)(1)(F)).

 25
      (_x_) ECF /EMAIL: By electronically filing the foregoing with the Clerk of the
 26 District Court using its ECF System, which electronically notifies them via email as
      indicated above.
 27

 28 (__) PERSONAL SERVICE (FRCP 5(b)(1)(B)(i)): I caused said documents to be

                                                 -1-
                                          PROOF OF SERVICE
Case 3:23-cv-01842-RBM-MSB Document 17 Filed 06/04/24 PageID.141 Page 4 of 4




  1 served by personally deliver them to the person(s) at the address(es) noted above.

  2
           I declare under penalty under the laws of the State of California and the United
  3 States that the foregoing above is true and correct, and that I am employed in the
    office of a member of the bar of this Court at whose direction the service was made.
  4

  5        Executed on June 4, 2024, at Ontario, California.
  6

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  8                                  SAMIRA MORAZAN
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                                        PROOF OF SERVICE
